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                IN THE UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF ARKANSAS
                          WESTERN DIVISION


UNITED STATES OF AMERICA


VS.                           4:14CR00211-10 DPM


ALLEN BRAGG

                 ORDER OF DETENTION PENDING TRIAL

      For the reasons stated at the conclusion of the November 18, 2014

Revocation Hearing, the Government’s Motion to Revoke Pretrial Release (doc.

219) is GRANTED. The Court finds that: (1) there is clear and convincing

evidence that Defendant violated multiple conditions of the October 23, 2014

Order Setting Conditions of Release; and (2) Defendant is unlikely to abide by any

condition or combination of conditions of release. See 18 U.S.C. § 3148(b)(1)(B)

and (2)(B).

      Defendant is committed to the custody of the Attorney General or a

designated representative for confinement in a corrections facility separate, to the

extent practicable, from persons awaiting or serving sentences or held in custody

pending appeal. Defendant must be afforded a reasonable opportunity to consult

privately with defense counsel. On order of a United States Court or on request of
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an attorney for the Government, the person in charge of the corrections facility

must deliver Defendant to the United States Marshal for a court appearance.

      IT IS SO ORDERED this 18th day of November, 2014.



                                      ___________________________________
                                      UNITED STATES MAGISTRATE JUDGE




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